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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


CONOCOPHILLIPS PETROZUATA B.V.,
et al.,

              Petitioners,

      v.                                           Civil Action No. 1:19-cv-0683 (CJN)

BOLIVARIAN REPUBLIC OF
VENEZUELA,

              Respondent.


                                           ORDER

       This matter is before the Court on Petitioners’ Motion for Default Judgment, ECF No. 35.

Petitioners seek an order recognizing and enforcing the final Award rendered on March 8, 2019 in

the arbitration between Petitioners and the Bolivarian Republic of Venezuela conducted under the

ICSID in Case No. ARB/07/30, captioned ConocoPhillips Petrozuata B.V., ConocoPhillips

Hamaca B.V., ConocoPhillips Gulf of Paria B.V., and ConocoPhillips Company v. Bolivarian

Republic of Venezuela.

       For the reasons set forth in the accompanying Memorandum Opinion, it is

       ORDERED that Petitioners’ Motion is GRANTED. It is further

       ORDERED that the Court RECOGNIZES and ENFORCES the Award pursuant to 22

U.S.C. § 1650a. It is further

       ORDERED that, in accordance with the pecuniary obligations of the Award, Venezuela

shall pay to the Petitioners:




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                i.     Damages as awarded by the Tribunal in the amount of $8,505,945,292;1

                ii.    Interest on the sum of $8,505,945,292, as follows:

                       a. Interest on the sum of $8,366,137,393 from May 7, 2019 to the date of

                           this Judgment, at an annual rate of 5.5% compounded annually; and

                       b. Simple interest on the sum of $139,807,899 from May 7, 2019 to the

                           date of this Judgment, at 12-month LIBOR;

               iii.   Reimbursement of Petitioners’ payments of arbitration costs and a portion of

                      their legal fees in the amount of $21,744,405.72;

               iv.    Simple interest on the sum of $21,744,405.72 from May 7, 2019 to the date

                      of this Judgment, at an annual rate of 3%; and

               v.     Post-judgment interest pursuant to 28 U.S.C. § 1961 on all the above

                      amounts from the date of this Judgment until full payment.

         It is further ORDERED that the Clerk enter Judgment for Petitioners consistent with this

Order.




DATE: August 19, 2022
                                                            CARL J. NICHOLS
                                                            United States District Judge




1
    All amounts are USD.


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